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13                              UNITED STATES DISTRICT COURT

14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15 CALIFORNIA COALITION FOR WOMEN                             Case No. 4:23-cv-04155
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
16   A.S.; and L.T., individuals on behalf of themselves      DECLARATION OF E
     and all others similarly situated,                       M        A       IN SUPPORT
17                   Plaintiffs,                              OF PLAINTIFFS’ MOTIONS FOR
                                                              PRELIMINARY INJUNCTION
18           v.                                               AND PROVISIONAL CLASS
                                                              CERTIFICATION
     UNITED STATES OF AMERICA FEDERAL
19   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR COLETTE
20   PETERS, in her official capacity; FCI DUBLIN
     WARDEN THAHESHA JUSINO, in her official
21   capacity; OFFICER BELLHOUSE, in his individual
     capacity; OFFICER GACAD, in his individual
22   capacity; OFFICER JONES, in his individual
     capacity; LIEUTENANT JONES, in her individual
23   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
24   capacity, OFFICER POOL, in his individual capacity,
     LIEUTENANT PUTNAM, in his individual capacity;
25   OFFICER SERRANO, in his individual capacity;
     OFFICER SHIRLEY, in his individual capacity;
26   OFFICER SMITH, in his individual capacity; and
     OFFICER VASQUEZ, in her individual capacity,
27
                     Defendants.
28
     [4340003.1]
            DECLARATION OF E     M        A      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                   PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1
            I, E      M       A      , declare:
 2
            1.     I have personal knowledge of the facts set forth herein, and if called as a
 3
     witness, I could and would competently so testify. I make this declaration in support
 4
     Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5
            2.     I have been incarcerated at FCI Dublin since June 2019. I am worried that
 6
     BOP may transfer me to another facility as a result of me reporting staff misconduct and
 7
     submitting this declaration. However, even if I am transferred, I could be transferred back
 8
     to FCI Dublin.
 9
            3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10
     to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11
     and put myself and other incarcerated persons at substantial risk of imminent serious harm
12
     from sexual assault, harassment, and retaliation from staff.
13
            4.     I started working in the kitchen shortly after I arrived at FCI Dublin, around
14
     August of 2019. I witnessed rampant sexual abuse by multiple officers while I was
15
     working in the kitchen. For years, the kitchen officers sexually abused incarcerated
16
     employees. Those of us who worked in the kitchen were too afraid to report them, and the
17
     few people who were brave enough to report faced brutal retaliation. This sent a strong
18
     message to the rest of us.
19
            5.     Right after I started working in the kitchen, Officer Ramos started flirting
20
     with me. He frequently complimented me and told me to smile, and asked me to bring him
21
     food. Everyone who worked in the kitchen knew that Ramos was having sex with women
22
     who worked in the kitchen, and I was very afraid every time I interacted with him. I kept
23
     my distance and did not flirt back with him, and this made him frustrated. He told me:
24
     “Change your attitude, or I will make your life here impossible.” This scared me, and I
25
     began smiling at him and being polite, but also tried to keep my distance.
26
            6.     Officer Chavez was in a sexual relationship with my friend and coworker
27
     M    . All of the officers and incarcerated women that worked in the kitchen knew about
28
                                             1
          DECLARATION OF E     M        A      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 the relationship. M     told me directly that Chavez had sexual intercourse with her
 2 regularly, and that Chavez promised to be with her after she was released from prison. Not
 3 long after I started working in the kitchen, M     told me that I needed to act as a “lookout”
 4 for her and Chavez while they had sex. This request made me very anxious, but I was
 5 afraid of what Chavez might do to me if I refused. I served as a “look out” for M      and
 6 Chavez about five times. I would stand outside of the walk-in fridge, and the two of them
 7 would go into the fridge for about 20 or 30 minutes. Afterwards, M       would tell me that
 8 she had sex with Chavez. I know of at least three other women who worked in the kitchen
 9 who acted as lookouts for M       and Chavez.
10         7.     Once, Chavez instructed everyone who was working in the kitchen,
11 including me and M       , to go to the walk-in fridge. Chavez came into the fridge too, and
12 he proposed to M       in front of all of us. He got down on one knee, and even gave her a
13 ring. M      was eventually released and deported to Mexico. After M       left, Chavez
14 started a relationship with a different incarcerated woman who worked in the kitchen. This
15 lasted until that woman was also released and deported to Mexico. Chavez told me that he
16 visited M      in Mexico, and that he still planned to marry her.
17         8.     I wanted to report Chavez, but I was afraid that he would come after me. I
18 saw him and other kitchen staff retaliate against people who reported their abuse. I saw the
19 officers scream at women, give them bogus write ups, threaten to throw them in the SHU
20 or get them transferred. I didn’t want any of this to happen to me. Chavez also gifted me
21 and several other women who knew about his relationships earrings. The other women and
22 I felt these earrings were a bribe to keep us quiet.
23         9.     Around November 2022, SIS Lieutenant Putnam called me in for an
24 interview. I told him that Ramos mistreated me, and that I witnessed Chavez sexually
25 abusing M       and other women. I gave Lieutenant Putnam the earrings that Chavez gave
26 me. Lieutenant Putnam told me not to speak to anyone else about my experiences. He did
27 not take notes while we talked, and I have never seen any records from our conversation.
28 No one from SIS or the FCI Dublin administration followed up with me.
                                            2
         DECLARATION OF E     M        A      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1         10.    When I arrived at FCI Dublin 2019 I was not given proper training on PREA
 2 or on how to report staff abuse. I remember that they showed me some kind of video, but it
 3 was in English and I don’t understand English. Recently they put up new signs with phone
 4 numbers and email addresses that we can contact to report PREA violations, but they have
 5 not given us any real training.
 6         11.    There is still no effective way to confidentially report abuse by staff at FCI
 7 Dublin. We’ve received memos and messages saying that we can go to SIS and other
 8 prison administrators to report staff abuse, but because of my experiences in the kitchen, I
 9 do not feel comfortable reporting within the BOP. I know so many people who reported
10 staff misconduct and then faced retaliation, including being thrown in solitary confinement
11 for months at a time, or being transferred far away from their families.
12         12.    We can’t use regular means of communication to report staff misconduct,
13 because staff monitor our phone calls, email messages, and regular mail. Staff have also
14 actively tried to limit our access to attorneys. It takes weeks and months for attorneys to
15 schedule appointments with us. When we do meet with attorneys, the meetings are in a
16 large visitation room with no privacy and staff present. After lawyers came to meet with a
17 group of us on March 9, 2023, staff strip searched every single person who met with
18 lawyers. I had never heard of staff strip searching someone before or after a legal visit, and
19 the searches were embarrassing, and felt like clear retaliation for speaking out. I have
20 spoken with other women in my dorm who have had legal visits with other lawyers, and
21 they told me that they were able to meet with their lawyers in private rooms, and were not
22 strip searched afterwards. After a recent legal visit, a new officer named Shirley even said
23 to me, “I’m not going to say anything to you, you’ll just report me to your lawyer.” Also,
24 our legal mail is often not delivered, or delivered already open or photocopied. Legal
25 visitors told me that FCI Dublin set up a new pilot phone system, but I had never heard of
26 it before, and do not know how to use it.
27         13.    I’ve also seen that when incarcerated people do report staff abuse, FCI
28 Dublin and BOP do not properly investigate or hold staff accountable. I reported what I
                                            3
         DECLARATION OF E     M        A      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 experienced to SIS Lieutenant Putnam, but he told me not to speak with anyone about my
 2 experiences and never followed up with me. I know many other people who reported staff
 3 sexual abuse to SIS over the years, and nothing was done in response.
 4          14.    There is not adequate mental healthcare for people who experienced staff
 5 sexual abuse at FCI Dublin. My experiences in the kitchen caused me a lot of anxiety. I
 6 began having panic attacks, and still experience them today. I went to see medical about
 7 my anxiety and they prescribed me medication, but I never received any counseling or
 8 other mental health treatment. I’ve heard that you can now request an appointment with
 9 Tri-Valley, but you have to request the appointment through a staff person, and you only
10 get five, thirty-minute sessions, and the sessions are not with actual clinicians.
11          15.    There is little to no medical care available to survivors of sexual abuse and
12 assault at FCI Dublin. The medical care here is terrible. It often takes months to get
13 appointments. I have a history of cancer – I was diagnosed with leukemia when I was 17
14 years old. My mom had three different kinds of cancer. I am supposed to have check ups
15 every 6 months to make sure that my cancer doesn’t come back, but have not had any
16 check ups during my time at FCI Dublin. When I first came to FCI Dublin I had a lump in
17 my breast and my doctor told me that I needed to get it checked. I’ve requested cancer
18 screenings many times at FCI Dublin, and have only ever received one, two years ago.
19          16.    The camera systems at FCI Dublin have not been adequate. For a long time,
20 there were no cameras where I worked in the kitchen, which is part of why the kitchen
21 officers were able to get away with abusing so many people for so long. Staff at FCI
22 Dublin have never worn body-worn cameras in the facility and despite ongoing sexual
23 abuse and assault at the facility staff still do not use body-worn cameras.
24 / / /
25 / / /
26 / / /
27 / / /
28 / / /
                                              4
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                              CERTIFICATE OF TRANSLATION

I, Susan Beaty, am competent to translate from Spanish to English. I certify that I read back the
foregoing statement to E        M        A       in the Spanish language, that the translation was
true and accurate to the best of my abilities, and that she understood it before signing.



August 15, 2023                                              _____________________________
